            Case 1:17-cv-02646-JEB Document 17 Filed 02/16/18 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                              )
MARIA ANURAG REDDY BASANI,                    )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )         Civil Action No.
                                              )         1:17-cv-02646-JEB
KIRSTJEN M. NIELSEN, Secretary, U.S.          )
Department of Homeland Security, et al.,      )
                                              )
       Defendants.                            )
                                              )


                             NOTICE OF VOLUNTARY DISMISSAL


TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff hereby files this Notice of

Voluntary Dismissal, without prejudice, noting that Defendants have not yet filed an answer or

motion for summary judgment.


Respectfully submitted on this 16th day of February 2018.


                                                    _/s/Adam J. Rosen___________________
                                                    Adam J. Rosen, Esq.
                                                    U.S. District Court Bar #MD29709
                                                    Murthy Law Firm
                                                    10451 Mill Run Circle, Suite 100
                                                    Owings Mills, MD 21117
                                                    Tel. (410) 356-5440
                                                    Fax. (410) 356-5669
                                                    Email. adamr@murthy.com
                                                    Attorneys for Plaintiff
